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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                TERRE HAUTE DIVISION

____________________________________
                                                     :
DUSTIN LEE HONKEN,                                   :
                                                     :
                               Plaintiff,            :       No. 2:20-cv-00342-JRS-DLP

                                                     :
       v.                                            :       *** Capital Case ***
                                                     :
WILLIAM P. BARR, in his official capacity as         :
the Attorney General of the United States;           :
MICHAEL CARVAJAL, in his official capacity           :       Execution scheduled for
as the Director of the Federal Bureau of Prisons;    :       July 17, 2020
DONALD W. WASHINGTON,                                :
in his official Capacity as the Director of the      :
United States Marshal Service; and                   :
T.J. WATSON, in his official capacity as the         :
Complex Warden for the United States                 :
Penitentiary, Terre Haute,                           :
                                                     :
                        Defendants                   :
____________________________________                 :

  NOTICE OF CLARIFICATION REGARDING PRO HAC VICE REPRESENTATION

       Kyle R. Freeny of the law firm Greenberg Traurig, LLP, submits this notice to clarify her

pro hac vice appearance and representation. Kyle R. Freeny represents Plaintiff Dustin Lee

Honken, not Father Mark O’Keefe, in this action.

       WHEREFORE, the undersigned counsel respectfully requests that the Court record

correctly reflect that Kyle R. Freeny represents Plaintiff Dustin Lee Honken in this action.



Dated: July 16, 2020                         Respectfully submitted,

                                      By:    /s/ Kyle R. Freeny
                                             Kyle R. Freeny*
                                             Greenberg Traurig, LLP
                                             2101 L Street, N.W.
                                             Washington, DC 20037
                                             Tel: (202) 331-3100
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                                            FreenyK@gtlaw.com
                                            * Application for admission pending in
                                            D.C.; practice limited to federal courts
                                            and agencies.

                                            Abigail A. Clapp (Ind. Atty. No. 25444-45)
                                            Greenberg Traurig, LLP
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                                            Email ClappA@gtlaw.com




                               CERTIFICATE OF SERVICE

      I hereby certify that on July 16, 2020, a copy of the foregoing Notice of Clarification
Regarding Pro Hac Vice Representation was filed electronically. Service of this filing will be
made on all ECF-registered counsel by operation of the court's electronic filing system. Parties
may access this filing through the court's system.

                                                   /s/ Kyle R. Freeny
